           Case 1:12-cr-00213-JLT-BAM Document 310 Filed 12/31/15 Page 1 of 4



1    CARL M. FALLER SBN: 70788
     FALLER LAW FIRM
2    Post Office Box 912
     Fresno, CA 93714
3    Phone: 559-679-4999
     carlfaller@icloud,com
4

5    Attorney for Defendant
     SERGIO JARA
6

7
                            IN THE UNITED STATED DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                       )   Case No.: 1:12-cr-00213 AWI BAM
11                                                   )
                    Plaintiff,                       )
12                                                   )   REQUEST FOR ERXTENSION OF DATE
          vs.                                        )   TO SURRENDER FOR SERVICE OF
13   SERGIO JARA,                                    )   SENTENCE
                                                     )
14                  Defendant.                       )
                                                     )
15
            TO: THIS HONORABLE COURT AND THE UNTIED STATES ATTORNEY’S
16
     OFFICE OF THE EASTERN DISTRICT OF CALIFORNIA.
17
            The defendant in this matter, Sergio Jara, is currently scheduled to surrender for service
18
     of the sentence imposed by the court on January 11, 2016. It is hereby requested that the court
19
     issue an order extending his surrender date until February 8, 2016.
20
            The reason for this request is that a significant amount of property, including electronic
21
     files, financial documentation and other physical evidence and personal property was seized
22
     from this defendant through the execution search warrants during the investigation of this matter.
23
     Even though Mr. Jara has requested return of his property, the government is taking the position
24
     that this property cannot be returned until all defendants in the case have been sentenced. This
25
     will not take place until after this defendant’s current surrender date. It will impose an undue
26
     and unnecessary hardship on Mr. Jara and his family, if he cannot be available when his property
27
     is released by the government and be allowed to organize his affairs prior to his surrender to
28
           Case 1:12-cr-00213-JLT-BAM Document 310 Filed 12/31/15 Page 2 of 4



1    serve his sentence. It is therefore requested that the court order that his surrender date be

2    extended until February 8, 2016, with all other terms and conditions to remain in effect.

3           On December 28, 2015, counsel for the defendant was informed by counsel for the

4    government that the United States Attorney’s Office would no longer be stipulating to the

5    extension of surrender dates because they now believe that the court lacks jurisdiction to enter

6    such an order. This is because they take the position that the surrender date is part of the

7    judgment and, in their current view, the court has no jurisdiction to modify the judgment. This is

8    a sharp departure from the common practices of that office, and the court, in the decades in

9    which defense counsel has been practicing before this court, including his time as a member of

10   the United States Attorney’s Office. It also seems to be a somewhat curious position since the

11   defendant still remains under pretrial supervision pending his surrender, and the court apparently

12   retains jurisdiction to enforce the terms of his pretrial release during the period between his

13   sentencing and his surrender to the Bureau of Prisons.

14          Counsel for the government did indicate, however, that no hearing was necessary to

15   consider this request, since there are no factual disputes, and that the government did not require

16   an opportunity to file any opposition to the request, as long as its position was made clear to the

17   court. The parties therefore agree that the court can act on this request without further filings or

18   hearing.
19
     Dated: December 29, 2015                              /s/Carl M. Faller
20
                                                           CARL M. FALLER
21                                                         Attorney for Defendants
                                                           Sergio Jara
22

23

24

25

26

27

28
           Case 1:12-cr-00213-JLT-BAM Document 310 Filed 12/31/15 Page 3 of 4



1    ORDER:

2           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the surrender date of

3    defendant Sergio Jara to the Bureau of Prisons be extended from January 11, 2016 to February 8,

4    2016, with all other orders and conditions to remain in effect until such surrender. NO

5    FURTHER EXTENSIONS OF THE SURRENDER DATE WILL BE GRANTED.

6
     IT IS SO ORDERED.
7

8    Dated: December 31, 2015
                                                SENIOR DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Case 1:12-cr-00213-JLT-BAM Document 310 Filed 12/31/15 Page 4 of 4



1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
